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        NOT YET SCHEDULED FOR ORAL ARGUMENT

                             No. 22-7063


        IN THE UNITED STATES COURT OF APPEALS
         FOR THE DISTRICT OF COLUMBIA CIRCUIT


 American Society for Testing and Materials; National Fire Protection
 Association, Inc; American Society of Heating, Refrigerating, and Air-
                     Conditioning Engineers, Inc.
                                           Appellants,
                                   v.
                      Public.Resource.Org, Inc.,
                                             Appellee.

         Appeal from the United States District Court for the
                        District of Columbia
         Hon. Tanya S. Chutkan, Case No. 1:13-cv-1215-TSC


     NOTICE OF PRIME ACCESS CONSULTING, INC. OF
    INTENTION TO PARTICIPATE AS AMICUS CURIAE IN
     SUPPORT OF APPELLEE PUBLIC.RESOURCE.ORG


                                         Blake E. Reid
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December 6, 2022
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       Notice of Intention to Participate as Amicus Curiae

    Pursuant to Fed. R. App. Proc. 29(a)(2) and D.C. Cir. R. 29(b), Prime

Access Consulting, Inc. hereby notifies this Court of its intent to file an

amicus curiae brief in the above-captioned matter in support of Appellee

Public.Resource.Org, Inc. Amicus intends to file a brief less than 6,500

words, addressing points not made by Appellee, that will aid the Court’s

consideration of this case. Pursuant to D.C. Cir. Rule 29(d), counsel to

amicus has coordinated with other amici supporting Appellee and

sought to ensure that the arguments presented in the brief are novel

and that a separate brief is necessary.

                   Corporate Disclosure Statement

    Pursuant to D.C. Cir. R. 26.1 and 28(a)(1)(A) and Fed. R. App. Pr.

29.1(a)(4)(A), amicus Prime Access Consulting, Inc. states that it has no

parent corporations and that no publicly held corporation or other

publicly held entity owns ten percent (10%) or more of amicus.




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                        Certificate of Service

   I certify that, on December 6, 2022, this notice was filed using the

Court’s CM/ECF system. All participants in the case are registered

CM/ECF users and will be served electronically via that system.

                              /s/Blake E. Reid

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